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       Exhibit Cover Page




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                                Haverford Grievances

The hate crime perpetrated against one of our Palestinian community members was the
direct result of the proliferation of anti-Arab and anti-Palestinian rhetoric on this
campus and beyond. It has highlighted the longstanding need to provide for the safety
and well-being of our Palestinian and Arab community members who this institution
has failed.

Students gathered on November 27th at 8 PM with a sense of urgency and agreement on
the following demands to the College. As a community, we feel that the College has
failed to address the fundamental concerns of Palestinian Haverford students.

The atmosphere felt on campus is one that is devoid of humanity. Many students feel
that they are uncared for, unheard, and feel concern and heartbreak over the treatment
of their Palestinian peers particularly affected by the ongoing apartheid. This
administration has approved the dissemination of harmful, divisive statements against
members of our community that do not foster mutual trust, concern and respect, values
under which we do not see the administration operating.

One particular area where our campus has failed is academic leniency. Many
Palestinian, Arab, and Muslim students on campus do not feel supported by the
academic departments despite the administration claiming the opposite.. No
institutional policy currently exists to offer tangible support regarding the ongoing
apartheid in Gaza, and there are currently no concrete steps to provide community
avenues for academic accommodations. When Palestinian, Arab, and Muslim students
not only see a member of their community nearly murdered but experience a tangible
lack of support from their college administration, engaging in our college’s rigorous
academic environment becomes extraordinarily difficult.

The mental and emotional toll that the hate crime and ongoing violence in
Palestine has had on Palestinian, Arab, and Muslim students has been
overlooked and underestimated.

The multiple responses sent out by administration left students feeling disillusioned and
unheard.1 While many students felt that the second response2 did more to address the

1
  Wendy Raymond. “Haverford Student Hospitalized Following Shooting in Vermont.” November 26, 2023.
Wendy Raymond. “Supporting Each Other and Standing Against Antisemitism and Islamophobia.”
November 8, 2023.
Wendy Raymond. “War in Israel and Gaza.” October 12, 2023.
Wendy Raymond. “Caring for One Another Following Weekend Violence” November 27, 2023.
2
  Wendy Raymond. “Caring for One Another Following Weekend Violence” November 27, 2023.


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nature of the attack, not enough is being done by administration to actively transform
the culture at Haverford into a safe one for Palestinian students, leaving the labor of
support to students. There is a distinction between uplifting the voices of students and
placing an undue burden on them to fight for their own ability to function as students
and people on this campus. The jump to increase the presence of Campus Safety in
particular made many students feel frustrated and unsafe when it was not a decision
that had been made with the input of students or a consideration of how surveillance
affects minority students on this campus. Overall, there has been a lack of humanity and
grace from the administration towards all community members.

While students appreciate the sentiment of vigils and office hours, we believe that the
needs of students at this time require further institutional support to ensure that our
community feels heard and cared for as hatred and violence continue. Students are
troubled by the silence and lack of urgency across our community and after the meeting
yesterday many people are going back to their departments, athletic teams, affinity
groups, and community spaces to advocate for one another. We are hopeful that if
students are coming together, then administrators, faculty, and staff can also join us in
making the following changes possible:

  I.   Academic Leniency
 II.   Culturally Competent Counselors
III.   Support for Faculty and Student Activism
IV.    Accountability and Restorative Action
 V.    Transparency from the Board of Managers


Demands

   1. Academic Leniency

             We demand that the College ensure that academic leniency is proactively
             offered and guaranteed by the College with acknowledgment of the
             particular need for leniency for Palestinian students in the following ways:

          a. Extending the pass/fail period to Friday, December 22nd at noon.
          b. Allowing for courses taken pass/fail to count towards major requirements
             in the Fall 2023 semester and consideration for this policy to continue into
             the Spring 2024 semester.
          c. Not counting courses taken pass/fail this semester towards the cumulative
             total of the four allowable pass/fail credits in students’ careers at
             Haverford.



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      d. Providing resources, events, and educational material to faculty about the
         injustices perpetrated against the Palestinian people so that they are aware
         of the reality that Palestinian students are facing. This should include:
            i. Developing frameworks for faculty to use inclusive anti-racist
                 language in academic settings.
           ii. Actively encouraging faculty to utilize these resources to stay
                 educated on the campus climate and updates relating to Palestine.
          iii. Communicating along with these resources that many students do
                 not have the same capacity now as in a normal semester,
                 particularly with regards to attendance and participation.
      e. Supporting faculty in immediately enacting the following policies:
            i. Reaching out to all students offering a universal extension policy –
                 upon request with no questions asked – that acknowledges the
                 local and global context that may further necessitate these
                 accommodations for Palestinian, Arab, and Muslim students.
           ii. Retroactive academic leniency for outstanding assignments from
                 October 7th onward, which should present itself as a proactive
                 willingness to work with students who request that assignments be
                 excused.
          iii. Alternative final exam options and leniency on granting students
                 incomplete grades in their courses to provide students with more
                 time to complete exams.
          iv. Providing lecture notes and/or Zoom recordings for all students so
                 that those who are unable to attend can still have access to
                 information covered in person.

         We demand to meet with the Provost as soon as possible to have these
         points fully met by December 8th.

2. Culturally Competent Counselors

         We demand that the College provides competent mental health services to
         students who are directly affected by the apartheid in Gaza, especially
         given that there is only one Muslim counselor at this time. This includes:

      a. Directly hiring (not outsourcing) Arab and Muslim CAPS counselors,
         specifically Arabic-speaking counselors as well.
      b. Counselors trained in providing trauma-informed counseling that is
         specifically tailored to grief, silencing, and targeting that Palestinian
         students have been facing since October 7th, but also the generational
         struggle within the larger context of the occupation.


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      c. Easier access for Palestinian students to current CAPS services given the
         current barriers to accessing mental health on campus.

         We demand to meet with the involved offices and administrators as soon
         as possible to ensure that these points are fully met by the beginning of
         next semester (February 2024).

3. Support for Faculty and Students’ Activism

         We demand Haverford ensure full protection for faculty and students who
         speak out about their positions related to the injustice in Palestine in the
         following ways:

      a. Academic freedom and freedom of speech includes the guaranteed right to
         speak about the current aggression on Gaza and its broader historical
         context.
      b. Provide support to international students and non-U.S citizen students
         regarding student activism and involvement.
                i. Make an information session with legal advisors available to
                students to provide transparency on their protections when it
                comes to freedom of speech and student activism in the United
                States so that students have the tools needed to be safely involved in
                activism on and off campus.
                ii. Expanding the available immigration legal counseling resources
                that are available to non-U.S citizen students to explicitly include
                support for students involved in student activism.
      c. Provide legal support regarding freedom of speech for faculty and staff
         upon request.
      d. Commit to a policy that ensures that future consideration for tenure-track
         faculty will not be negatively impacted for speaking up against the
         apartheid in Palestine, including no financial retributions.

         We demand that the information session be held within a month of these
         demands’ announcement, the guarantees of academic freedom within the
         College should be enacted immediately, and that the new support
         structures should be initiated by the end of the Spring semester.

4. Accountability and Restorative Action




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               We demand that the administration take accountability for the harm they
               inflicted upon the student body and that members of the administration
               carry out specific actions to mend this harm as highlighted below:

           a. Accountability and Restorative Action
                 i. Violation of Student Governance
                        1. By undermining the voices of student government officers
                            and failing to respond in a timely manner to emails sent by
                            concerned members of the student body.
                ii. Mismanagement of hc-allstudents policies
                        1. By approving and sending hateful responses that target
                            members of the student body with false accusations, and
                            describing them with hostile, charged language such as
                            “hijacking”3 and equating calls to end the genocide and
                            ethnic cleansing of a people as ‘anti-semitic’. These
                            responses undermine efforts in support of Palestinian
                            people, promote anti-Arab sentiments, and contribute to the
                            dehumanization of Palestinians that lead to violent attacks
                            against them.
               iii. Undermining student-initiated events
                        1. By dismissing the numerous spaces for conversation that
                            students have created.
                        2. By undermining the power of student-led protests supported
                            by a significant amount of the larger student body.
               iv. Increase of Campus Safety presence on campus
                        1. We ask for transparency and student input on increased
                            presence of Campus Safety, future institutional safety
                            measures, and ways we can protect ourselves beyond
                            Campus Safety.
           b. Support and acknowledgment of the injustice enacted against Haverford
              alumni Elom Tettey-Tamaklo4, who was indefinitely suspended from his
              proctor duties at Harvard Divinity School for supporting Palestine.
           c. A statement from the College condemning the state of Israel as responsible
              for the ongoing apartheid by:
                 i. Acknowledging the Israeli attacks as a continued ethnic cleansing
                     against the Palestinian people. In particular, an acknowledgment of



3
  Allyson Landau. “Silenced Jewish Voices.” November 9, 2023.
4
 Harvard College Palestine Solidarity Committee (PSC). “Tweet Message.”
https://twitter.com/HarvardPSC/status/1724630975773094249.


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                        the (nearly) full history laid out by the UN5, starting at the 1948
                        Nakba.
                  ii.   Calling for an explicit condemnation of the Israeli government’s
                        violent apartheid, as explained by Amnesty International6, as an
                        institution that prides itself in its historical stance against South
                        African apartheid.
                 iii.   Using the College’s position as a respected PA institution to publicly
                        call upon Senator Fetterman and Representative Scanlon to support
                        a permanent ceasefire7 in alignment with other Quaker institutions’
                        statements.8

                We demand that point A be met by December 22nd through a statement
                and action plan from the President's Office and Dean of the College
                outlining how the College will respect student governance and students’
                right to organize. We also demand that students be involved in
                decision-making regarding institutional safety measures through the
                Campus Safety Advisory Committee.

                We demand that point B be met by December 22nd through a statement
                from the President’s Office expressing support for the reinstatement of
                Elom Tettey-Tamaklo.

                We demand that point C be met by December 22nd through a public
                statement from the President’s Office.

    5. Transparency from the Board of Managers

                We demand transparency from the Board of Managers, particularly from
                the Investment Committee and Executive Board. As well as student input
                in the Board of Managers Nomination Processes.

            a. Transparency
                 i. Institutional compliance with transparency about events that have
                     transpired within the Board of Managers since October 7th,


5
  United Nations, “Origins and Evolution of the Palestine Problem.”
https://www.un.org/unispal/history2/origins-and-evolution-of-the-palestine-problem/.
6
  Amnesty International, “Israel’s Apartheid Against Palestinians.”
https://www.amnesty.org/en/latest/campaigns/2022/02/israels-system-of-apartheid/.
7
  Representative Scanlon has supported a temporary ceasefire but has yet to voice support for a
permanent one.
8
  See Page 1.


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                    including clarity about the resignation of a member9 and the
                    withdrawal of specific scholarship funds that have affected the
                    student body. This can take the form of an audit of events and a
                    formal resignation procedure that includes communication with the
                    Haverford community relating to the nature of the resignation and
                    its implications.
           b. Representation of Palestinian voices in the Board of Managers
                 i. Appointment of at least one member of Palestinian descent.
           c. Investment procedures
                 i. Commitment to the ongoing conversations and process of
                    divestment and separation from institutions and companies that
                    enable and maintain violence against Palestinians.
                ii. In recognition of the investment process at Haverford that includes
                    an ESG (Environmental, Social, Governance) investment policy, we
                    call on the College to establish a more robust investment policy that
                    is in line with our Quaker values.
               iii. In alignment with the American Friends Service Committee Social
                    Responsibility Investment Policy10, we call on the College to develop
                    a comparable investment policy that includes, but is not limited to
                    the commitment that “Investments should not be made in
                    companies which consistently, knowingly, and directly facilitate and
                    enable state violence and repression, war and occupation, and/or
                    severe violations of international law and human rights.”11
               iv. We demand that the College commit to the aforementioned Social
                    Responsibility Investment Policy12 as it applies to the Apartheid in
                    Palestine, and take necessary steps to maintain this commitment as
                    needed.
           d. Student representation in the Board of Managers’ Investment Committee
                 i. We demand at least 2 student representatives to be included in the
                    Investment Committee to represent student values, including, but
                    not limited to, anti-war, nonviolent Quaker ethics.
                ii. Student representatives should be able to:
                         1. Help guide investment policies in alignment with our Quaker
                             values, including:
                                a. Access to dialogue with Investure.



9
  https://haverfordclerk.com/alumna-claudia-hammerman-resigns-from-haverford-board-of-managers/.
10
   https://afsc.org/sites/default/files/documents/Investment%20Policy%20Statement%202021.pdf.
11
   https://afsc.org/sites/default/files/documents/Investment%20Policy%20Statement%202021.pdf (page
5).
12
   Ibid.


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                      b. Regular analyses of the College’s investments to
                          confirm that our investments are in line with our
                          investment policies and Quaker values.
               2. Publicly report goals established by the Investment
                  Committee to the Student Body and report any violations of
                  the investment policy.
               3. Advocate and report on student representative goals and
                  outcomes to the student body.
  e. Board of Managers Executive Board
       i. Report the minutes of the Executive Board meetings to the student
           body.
  f. Student Input
       i. Town hall-style meetings organized by the President’s Office with
           Board of Managers members. These meetings should take place
           after each of the four Board meetings. Prior to this meeting, all
           reports about the meetings must be released. This space will be
           open to all students and be a platform for the Board to listen to
           student voices.
               1. ⅔ of the Board of Meetings should be present in these town
                  halls.
      ii. During the third town hall, the student representatives should
           provide input and recommendations to the Board of Managers
           Nominations and Governance Committee on nominations for new
           Board of Managers members to take into account values and
           identities that matter to students.
               1. The demographic makeup of the Board of Managers should
                  reflect the demographics of the campus as best as possible.

     We demand that point A be met by December 22nd via a public report to
     the campus.

     We demand that the Board of Managers' Nomination Processes begin to
     accommodate the requests of point B by the next nomination period in
     April.

     We demand that conversations on investment procedures in point C be
     initiated within the next two weeks (by December 12th).

     We demand that conversations on the Board of Managers’ bylaws be
     initiated within the next two weeks in order to meet the demands



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                   requested in points D, E, and F and see tangible amends by the next Board
                   of Managers Weekend.


Haverford’s Role as a Quaker Institution

 “We are a people that follow after those things that make for peace, love, and unity; it
    is our desire that others’ feet may walk in the same, and do deny and bear our
                        testimony against all strife, and wars.”13
         – Margaret Fell, Founding member of the Religious Society of Friends

       We conclude by saying that we ask for these things knowing that we elected to be
a part of a community whose values are central to the way we are present on this
campus and the changes we want to see.
       The principal Quaker values that one raised in the faith grows up hearing
(commonly abbreviated to S.P.I.C.E.S.) include peace, equity, and stewardship.
Haverford College has failed to live up to these values it was founded with and claims to
follow today. The Quaker United Nations Office (QUNO), The American Friends Service
Committee, The Philadelphia Yearly Meeting, and the Friends Committee on National
Legislation have all called for a ceasefire and condemned Israel’s apartheid in Gaza.14
Paradoxically, Haverford College as a “Quaker” institution is not following suit. By
continuing to vocally and monetarily support the government of Israel in its ongoing
apartheid of the Palestinian people, Haverford College does not honor peace, and does
not foster a safe community for Palestinian Fords. Peace is not limited to moments of
silence and vigils—it is a goal that we all must actively work towards. Quakers have a
long history of anti-war action. It is inappropriate for Haverford to use its position as a
historically Quaker institution as an excuse for remaining silent or trying to take a “both
sides” approach on apartheid. Peace is not a passive practice. We have unfortunately
also seen this behavior of hiding behind “peace” before from Quaker institutions. From
Quaker corporations’ implication in South African Apartheid, to the long history of
prominent Quakers’ enslavement of Black people in the United States and Quaker
involvement in the abuse of Indigenous people in the US and Canada, Haverford cannot
afford to be part of this legacy of inaction. In the past Haverford has stood out among
Quaker institutions for being vocal in its disapproval of apartheid in South Africa; we
ask that you have the same initiative in opposing apartheid now in Palestine.
       Haverford has failed to exercise the value of equity in its language and behavior
about the apartheid in Palestine. Time and time again, Haverford has been putting the
voices of its Zionist students above the experiences of its Palestinian (and specifically
Gazan) students. These offenses include approving the inappropriate hc-allstudents

13
     https://qfp.quaker.org.uk/passage/19-46/.
14
     https://quno.org/sites/default/files/timeline/files/2023/quaker-statement-on-gaza-10-17-23.pdf.


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email calling anti-Zionist students anti-Jewish, and centering Israeli suffering while
initially brushing off Gazan suffering. This inequitable treatment of student voices is
inexcusable.
        Above all, the College has failed to engage with the Quaker value of stewardship,
the value of caretaking of one’s community. Approving hc-allstudents emails that target
specific community members already vulnerable to marginalization15, failing to
condemn ongoing violence against fellow students, faculty, and staff, labeling Jewish
students who condemn Israel as “antisemitic,” weaponizing anti-Arab and
anti-Palestinian talking points, and neglecting to provide adequate
counseling/emotional support for its Palestinian students, are all antithetical to
principles of community care. The continued lack of adequate response to the safety and
well-being of our Palestinian community members is a failure to foster stewardship and
engage in community care. Specific remedies to this issue are outlined in the demands
and we are hopeful that these efforts will create a safer, more compassionate, and
human community to leave behind for the generations to come.

We ask for a full response to these grievances by Friday, December 1st.

-Haverford Students for Peace




15
     Allyson Landau and students. “Silenced Jewish Voices.” November 9, 2023


                                                                                       10
